                        Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 1 of 45

AO 44Z (Kev. 11/11) Arrc3tWi•rnmt


                                         UNITED STATES DISTRICT COURT
                                                                  for the

                                                         District of Columbia


                   United States of America                         )
                                                                    ) Case: 1~21-mj-00644
                                v.                                  ) Assigned To: Harvey, G. Michael
             GREGORY RICHARD PURDY,                                 ) Assign. Date: 11/3/,2021
                                                                    ) Description: COMPLAINT WI ARREST WARRANT
                                                                    )
                             Defendant

                                                     ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) GREGORY RICHARD PURDY
who is accused of an offense or violation based on the following document filed with the court:

□     Indictment         □    Superseding Indictment       □   Information      □   Superseding Information          ]II Complaint
□   Probation Violation Petition          □   Supervised Release Violation Petition       □ Violation   Notice       □   Order of the Court


          18 U.S.C. §§ 23 l(a)(3), 2 - Civil Disorder;
          18 U.S.C. §§ 11 l(a)(l), 2 - Assaulting, Resisting, or Impeding Certain Officers;
          18 U.S.C. §§ 1512(c)(2), 2 - Obstruction of an Official Proceeding and Aiding and Abetting;
          18 U.S.C. § 1752(a)(l) - Entering and Remaining in a Restricted Building or Grounds;
          18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
          40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
          40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                        G Michael Harvey                Digitally signed by G. Michael Harvey
Date:         11/03/2021                                                  •                             Date: 2021.11.03 22:41:07-04'00'
                                                                                          Issuing officer's signature

City and state:                  Washington, D.C.                             G. Michael Harvey, U.S. Magistrate Judge
                                                                                            Printed name and title


                                                                 Return




                                                                                         Arresting ojjicersstgn~e


                                                                                      8o'an __S½err-v
                                                                                                  tire
                                                                                            Printed name and
                                                                                                                          ~cllt</J_e
                                                                                                                        7 ~     76-
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 2 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 3 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 4 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 5 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 6 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 7 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 8 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 9 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 10 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 11 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 12 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 13 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 14 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 15 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 16 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 17 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 18 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 19 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 20 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 21 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 22 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 23 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 24 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 25 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 26 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 27 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 28 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 29 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 30 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 31 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 32 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 33 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 34 of 45
                                                            'XUDWLRQ 30 Minutes
                      Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 35 of 45$7 7
                                                            3URFHHGLQJYLD&RXUW&DOO
DOCKET No. _____________________________
           21mj10832                                             DEFENDANT _______________________________________
                                                                           Gregory Purdy and Matthew Purdy
                                                                                     Joseph Vita (CJA) for Matthew Purdy
AUSA ___________________________________
      Jennifer Ong                                               DEF.’S COUNSEL ___________________________________
                                                                                Ben Gold for Gregory Purdy
                                                                  RETAINED   ✔ FEDERAL DEFENDERS        CJA    PRESENTMENT ONLY
   _____________________ INTERPRETER NEEDED
                                                                              DEFENDANT WAIVES PRETRIAL REPORT

   Rule 5         Rule 9 ✔ Rule 5(c)(3)      Detention Hrg.         DATE OF ARREST ________________            ✔ VOL. SURR.
                                                                    TIME OF ARREST ________________               ON WRIT
   Other: ________________________________________                  TIME OF PRESENTMENT __________
                                                                                          2:15pm

                                                        BAIL DISPOSITION
                                                                                                                  SEE SEP. ORDER
  DETENTION ON CONSENT W/O PREJUDICE            DETENTION: RISK OF FLIGHT/DANGER         SEE TRANSCRIPT
  DETENTION HEARING SCHEDULED FOR: ________________________
✔ AGREED CONDITIONS OF RELEASE
  DEF. RELEASED ON OWN RECOGNIZANCE
  $_______________ PRB   ________FRP
  SECURED BY $_______________ CASH/PROPERTY: __________________________________________________________
  TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
  TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
  SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

   PRETRIAL SUPERVISION:      REGULAR       STRICT    AS DIRECTED BY PRETRIAL SERVICES
   DRUG TESTING/TREATMT AS DIRECTED BY PTS        MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
   DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT
   +20(,1&$5&(5$7,21        +20('(7(17,21      &85)(:     67$1'$/21(021,725,1*
   /2&$7,21021,725,1*7(&+12/2*<$6',5(&7('%<376            *36
  DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

   DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]     DEF. TO CONTINUE OR START EDUCATION PROGRAM
   DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
  DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

The defendants were advised of their rights and the charges against them. Identity hearings waived. Ben Gold was
appointed to represent Gregory Purdy. Joseph Vita was appointed to represent Matthew Purdy. Defendant released on
agreed-upon conditions of bail. See appearance bonds and orders setting conditions of release.

(Courtflow: 30 minutes)



   DEF. ARRAIGNED; PLEADS NOT GUILTY                          CONFERENCE BEFORE D.J. ON _______________
   DEF. WAIVES INDICTMENT
   SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________

For Rule 5(c)(3) Cases:
✔ IDENTITY HEARING WAIVED                                        DEFENDANT TO BE REMOVED
  PRELIMINARY HEARING IN SDNY WAIVED                             CONTROL DATE FOR REMOVAL: _______________


                          12/8/21
PRELIMINARY HEARING DATE: ________________                      ✔ ON DEFENDANT’S CONSENT


DATE: ______________________
      11/10/21                                                            Judith C. McCarthy
                                                                        __________________________________________________
                                                                        UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
WHITE (original) – COURT FILE   PINK – U.S. ATTORNEY’S OFFICE        YELLOW – U.S. MARSHAL       GREEN – PRETRIAL SERVICES AGENCY
Rev’d 2016
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 36 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 37 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 38 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 39 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 40 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 41 of 45
Case 1:21-mj-00644-GMH Document 6 Filed 11/12/21 Page 42 of 45
11/16/21, 11:36 AM     Case 1:21-mj-00644-GMH Document  6 Filed
                                                  SDNY CM/ECF      11/12/21
                                                              NextGen Version 1.6 Page 43 of 45


                                     Query       Reports         Utilities   Help    What's New    Log Out


                                     U.S. District Court
                         Southern District of New York (White Plains)
                CRIMINAL DOCKET FOR CASE #: 7:21-mj-10832-UA All Defendants


 Case title: USA v. Purdy et al                                                     Date Filed: 11/10/2021

 Assigned to: Judge Unassigned

 Defendant (1)
 Gregory Richard Purdy                                               represented by Benjamin David Gold
                                                                                    Federal Defenders of New York Inc. (White
                                                                                    Plains)
                                                                                    300 Quarropas Street
                                                                                    White Plains, NY 10601
                                                                                    914-355-8077
                                                                                    Email: ben_gold@fd.org
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Public Defender or
                                                                                    Community Defender Appointment

 Pending Counts                                                                     Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                  Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                         Disposition
 18:231.F----CIVIL DISORDER


 Assigned to: Judge Unassigned

 Defendant (2)
 Matthew Purdy                                                       represented by Joseph A. Vita
                                                                                    Joseph A. Vita
                                                                                    52 Irenhyl Avenue
https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?224120659342444-L_1_0-1                                                          1/3
11/16/21, 11:36 AM     Case 1:21-mj-00644-GMH Document  6 Filed
                                                  SDNY CM/ECF      11/12/21
                                                              NextGen Version 1.6 Page 44 of 45

                                                                  Port Chester, NY 10573
                                                                  914-939-5401
                                                                  Email: joev63542@aol.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: CJA Appointment

 Pending Counts                                                                     Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                  Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                         Disposition
 18:231.F----CIVIL DISORDER



 Plaintiff
 USA                                                                 represented by Jennifer Ong
                                                                                    DOJ-USAO
                                                                                    300 Quarropas Street
                                                                                    White Plains, NY 10601
                                                                                    914-993-1926
                                                                                    Email: jennifer.ong@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Assistant US Attorney

  Date Filed            # Docket Text
  11/10/2021           1 RULE 5(c)(3) AFFIDAVIT of Brian P. Sherry, Special Agent, FBI, from the United States
                         District Court - Southern District of New York, as to Gregory Richard Purdy, Matthew
                         Purdy. (Signed by Magistrate Judge Judith C. McCarthy on 11/10/2021) (ap) (Entered:
                         11/12/2021)
  11/10/2021                Arrest (Rule 5(c)(3)) of Gregory Richard Purdy, Matthew Purdy. (ap) (Entered: 11/12/2021)
  11/10/2021                Rule 5(c)(3) Documents Received as to Gregory Richard Purdy, Matthew Purdy from the
                            United States District Court - District of Columbia. (ap) (Entered: 11/12/2021)
  11/10/2021           2 Minute Entry for proceedings held before Magistrate Judge Judith C. McCarthy:Initial
                         Appearance in Rule 5(c)(3) Proceedings as to Gregory Richard Purdy, Matthew Purdy held
                         on 11/10/2021. Appearance entered by Benjamin David Gold for Gregory Richard Purdy,
                         Joseph A. Vita for Matthew Purdy on behalf of defendant. Bond Hearing as to Gregory
https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?224120659342444-L_1_0-1                                                       2/3
11/16/21, 11:36 AM     Case 1:21-mj-00644-GMH Document             6 Filed
                                                            SDNY CM/ECF      11/12/21
                                                                        NextGen Version 1.6 Page 45 of 45

                          Richard Purdy, Matthew Purdy held on 11/10/2021. Jennifer Ong for the Government.
                          BAIL DISPOSITION: AGREED CONDITIONS OF RELEASE. The defendants were
                          advised of their rights and the charges against them. Identity hearings waived. Ben Gold
                          was appointed to represent Gregory Purdy. Joseph Vita was appointed to represent Matthew
                          Purdy. Defendant released on agreed-upon conditions of bail. See appearance bonds and
                          orders setting conditions of release. IDENTITY HEARING IN SDNY WAIVED.
                          Preliminary hearing 12/8/21 on Defendant's consent. (Court Reporter Courtflow) (ap)
                          Modified on 11/12/2021 (ap). (Entered: 11/12/2021)
  11/10/2021                CJA 23 Financial Affidavit by Matthew Purdy. APPROVED. (Signed by Magistrate Judge
                            Judith C. McCarthy) (ap) (Entered: 11/12/2021)
  11/10/2021                CJA 23 Financial Affidavit by Gregory Richard Purdy. APPROVED. (Signed by Magistrate
                            Judge Judith C. McCarthy) (ap) (Entered: 11/12/2021)
  11/10/2021           3 UNSECURED APPEARANCE BOND Entered as to Matthew Purdy in amount of
                         $50.000.00; ADDITIONAL CONDITIONS OF RELEASE. The defendant must: submit to
                         supervision by and report for supervision to the PRETRIAL SERVICES As Directed.
                         surrender any passport to: PRETRIAL SERVICES; abide by the following restrictions on
                         personal association, residence, or travel: SDNY/EDNY and the District of Columbia for
                         court appearances or meetings with counsel only and DNJ and DCT for work purposes
                         only; not possess a firearm, destructive device, or other weapon; not use or unlawfully
                         possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless
                         prescribed by a licensed medical practitioner: See Below; Surrender and/or transfer
                         ownership of any firearms and weapons at the defendant's residence no later than November
                         17, 2021 and provide proof to Pretrial Services. (ap) (Entered: 11/12/2021)
  11/10/2021                RULE 5(c)(3) DOCUMENTS SENT via email as to Gregory Richard Purdy, Matthew
                            Purdy from the U.S.D.C. Southern District of New York to the United States District Court -
                            District of Columbia. Sent original file along with documents numbered 1-4, copies of: Rule
                            5(c)(3) Documents, the docket sheet, and letter of acknowledgment. (ap) (Entered:
                            11/12/2021)
  11/12/2021           4 UNSECURED APPEARANCE BOND Entered as to Gregory Richard Purdy in amount of
                         $75,000.00; Cosigned by 2 FRP by November 17, 2021. ADDITIONAL CONDITIONS OF
                         RELEASE: The defendant must: submit to supervision by and report for supervision to the
                         PRETRIAL SERVICES As Directed; surrender any passport to: PRETRIAL SERVICES;
                         not obtain a passport or other international travel document; abide by the following
                         restrictions on personal association, residence, or travel: SDNY/EDNY and the District of
                         Columbia for Court purposes or meetings with counsel only, and DNJ and DCT for work
                         purposes only; get medical or psychiatric treatment: as directed by Pretrial; not possess a
                         firearm, destructive device, or other weapon; not use or unlawfully possess a narcotic drug
                         or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                         medical practitioner. submit to testing for a prohibited substance if required by the pretrial
                         services office or supervising officer. Testing may be used with random frequency and may
                         include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or
                         any form of prohibited substance screening or testing. The defendant must not obstruct,
                         attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
                         screening or testing. participate in a program of inpatient or outpatient substance abuse
                         therapy and counseling if directed by the pretrial services office or supervising officer; See
                         below: Surrender and/or transfer ownership of any firearms and weapons at the defendant's
                         residence no later than November 17, 2021 and provide confirmation to Pretrial Services.
                         (ap) (Entered: 11/12/2021)



https://nysd-ecf.sso.dcn/cgi-bin/DktRpt.pl?224120659342444-L_1_0-1                                                    3/3
